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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 SAFECAST LIMITED,                                              :
                                              Plaintiff(s), :       23   Civ. 5466   (LGS)
                                                                :
                            -against-                           :          ORDER
                                                                :
                                                                :
 MICROSOFT CORPORATION,                                         :
                                              Defendant(s), :
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LORNA G. SCHOFIELD, District Judge:

         WHEREAS, on December 1, 2022, Defendant filed a motion to dismiss. The same day,

Defendant filed a request for judicial notice in support of its motion to dismiss.

         WHEREAS, on June 27, 2023, this case was transferred into the Southern District of New

York. An Order issued June 29, 2023, scheduled an initial conference for July 19, 2023. It is

hereby

         ORDERED that Defendant’s motion to dismiss and Defendant’s request for judicial

notice are DENIED, without prejudice to renewal. The parties shall be prepared to discuss the

motion and claim construction at the July 19, 2023, conference.

         The Clerk of Court is respectfully directed to close the motions at Dkt. Nos. 12 and 14.

Dated: June 29, 2023
       New York, New York
